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AO 91 (Rev. 11/11) Criminal Complaint                     Trial Attorney Andres Q. Almendarez (202) 258-7149
                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

 UNITED STATES OF AMERICA                                            F  I L E D
                                                   CASE NUMBER: 25 CR 255
                        V.
                                                   UNDER SEAL
 SYED MEHDI HUSSAIN, and                                                         5/9/2025
                                                                                       . BRUTO    N
 SYED MURTUZA KABLAZADA                                                      THOMA.SDG
                                                                                     IS T R IC T COURT
                                                                          CLERK, U.S
                                        CRIMINAL COMPLAINT

      I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.


On or about May 11, 2023, at Chicago, in the Northern District of Illinois, Eastern Division, and
elsewhere, SYED MEHDI HUSSAIN and SYED MURTUZA KABLAZADA, the defendants
violated:
     Code Section                                Offense Description
     Title 18, United States Code, Section       did knowingly and willfully execute and attempt
     1347                                        to execute a scheme and artifice to defraud and to
                                                 obtain, by means of materially false and
                                                 fraudulent pretenses, representations, and
                                                 promises, money and property owned by and
                                                 under the custody and control of Medicare, a
                                                 health care benefit program as defined in Title 18,
                                                 United States Code, Section 24(b), in connection
                                                 with the delivery of and payment for health care
                                                 benefits, items, and services, by submitting and
                                                 causing to be submitted, a claim for the provision
                                                 of eight OTC kits to beneficiary S.D., when such
                                                 services were not provided.

    This criminal complaint is based upon these facts:
    _x_ Continued on the attached sheet.
                                                          Randell M. Harold by MV

                                                     Randell M. Harold
                                                     Special Agent, FBI

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The
above-named agent provided a sworn statement attesting to the truth of the Complaint and
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U.S.C. § 2705. Providing immediate notice may seriously jeopardize the ongomg

investigation by prematurely revealing its existence and givmg suspects an

opportunity to flee from prosecution, destroy or tamper with evidence, intimidate

potential witnesses, notify confederates, and change patterns of behavior. See 18

U.S.C. § 3103a(b)(l). There is reasonable necessity for the use of the technique

described above, for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

      167.   I further request that the Court authorize execution of the two warrants

served on Provider at any time of day or night, owing to the potential need to locate

the Subject Phone 1 and Subject Phone 2 outside of daytime hours. In addition,

because the warrants will be served on Provider, who will then compile the requested

records at a time convenient to it, good cause exists under Rule 41 to permit the

execution of the requested warrants at any time in the day or night.




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      168.   I further request that the Court order that all papers in support of these

applications, including the affidavit and search warrants, be sealed until further

order of the Court, except that the government may provide the two search warrants

to the Provider. These documents discuss an ongoing criminal investigation that is

neither public nor known to all the targets of the investigation. Accordingly, there is

good cause to seal these documents because their premature disclosure may seriously

jeopardize that investigation.

FURTHER AFFIANT SAYETH NOT.

                                               Randell M. Harold by MV

                                               Randell M. Harold
                                               Special Agent, FBI


Sworn to and affirmed by telephone the 9th day of May, 2025


Honorable Maria Valdez
United States Magistrate Judge




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